         Case: 1:16-cv-03166 Document #: 1 Filed: 03/11/16 Page 1 of 27 PageID #:33



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I     Plaintiff(e):

      A.      Name:

      B.      List.a[    aliases:

      C.      Prisoneridentificatiolnumber

      D.      Placeofpresentconfinemeit'      t-'t-'b' D''u-'\f"rt\)
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      B.     Appro:rinatedate of        fil-g   lawsuit:

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IV.    Statcmentof Clain:

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v.     Relief:

       State briefly exacty what you want tre court to do for        you. Ivlake no legal argum€ots. Cite
       no cases or staailcs.




       The plaintiff demmils that thc case be tied by    a   jury.     tr YEs
                                                         CERIIFICATION

                               By signing this Corylainfi, I c€rti$, that the facts statod in this
                               Corylaint are tnre to the best of my knowledgc, information md
                               belief. I rmderstaod that if ftis certification is not conoct, I may be
                               zubjectto sanctionsby the Court.

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                                                               IU Health Arnett
                                                                     Patient Report
 ODELL L CALVIN

 ,IN
 MRN-74806462


Dear ODELL CALVIN:
You have undergone a Esophagogastroduodenoscopy procedure performed by Dr. NAVEED AHMAD. The summary
conclusions and images from the procedure include the following:
Summary:
 '   Moderate amount of blood seen in the hypopharynx, likely from the endotracheal tube placement, trauma.
 '   Multiple thick, concentric, mucosal rings seen in the proximal and middle third of the esophagus, which did not allow the
     endoscope to pass through. Dilatation was performed.
 '   I,do;cr,r.,; -,ias .ri,lu to pass ;l,ro;;,1, ,,,-.. tli; o1 ,;,i;.1..   .i;l:r   lil-,;ice.
 '   Normal cntire stomach.
 ' Small amount of retained barium was seen and aspirated.
 ' Normal pylorus.
 ' Normal duodenal bulb, 2nd portion of the duodenum, and 3rd portion of the duodenum.
lmpression: multiple concentric mucosal rings in the esophagus, possibly due to eosinophilic esophagitis.




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                                                       p-proximal third of the              esophagus   plbody of the            stomach




p-2nd     portion of the duodenum
               Case: 1:16-cv-03166 Document #: 1 Filed: 03/11/16 Page 22 of 27 PageID #:54



                                                IU Health Arnett
                                                     Patient Report
ODELL L CALVIN

,IN
MRN-74806462


Dear ODELL CALVIN:
You have undergone a Esophagogastroduodenoscopy procedure performed by Dr. NAVEED AHMAD. The summary
conclusions and images from the procedure include the following:
Summary:
 '   Moderately nanow esophagus however improved from previous endoscopy as it allwed stadard EGD scope to pass through.
 '   Thick concentric rings through out the proximal,and middle 3rd of the esophagus likley due to eosinophilic esophagitis.
     Ditratation was perfitrmed.
 "   \l+nnal   siomrrcir
 '   lJormal pylorus.
 '   Normal duodenal bulb and 2nd portion of the duodenum.




fi-proximal third of the    esophagus      pl-2nd portion of the duodenum
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-fundus -retroflexed view
                                          fl-body of the stomach                    Balloon Dilation
                          Case: 1:16-cv-03166 Document #: 1 Filed: 03/11/16 Page 23 of 27 PageID #:55


                                                                   IU Health Arnett
                                                              ENDOSCOPY DISCIIARGE INSTRUCTIONS
       Patient Name:                                   ODELL L CALVIN          Attending Physician:           NA\/EED AHMAD,
       I'atient ID:                                    MRN-74806462            Date of Birth:
       Procedure Date:                                 0t/28t201s              Procedure Performed:           EsophagogastroduodenoscoPY

       1. General Information
        ' You received sedation: You must have someone drive you home'
        ' Do not drive a motor vehicle, operate machinery or power tools for 24 hours.
        ' Do not sign any legal documents or make any personal or business decisions for 24 hours.
        ' You may return to work tomorrow unless otherwise directed'
       2. Diet
               Nothing to eat or drink fbr t hour. Test swallowing with sips of water'
               Resume normal diet, unless otherwise directed.
       _v.    Follow any prescribed diet instructions giverr. tfuUO 5{ rgaad.
       l)o not drink any alcoholic beverages, inclu{ing beer, for 24 hours. M{ata Gas, Phazyme, GasX, or other anti-gas medications
       may be takc:n to relieve bloaiinl'or g'rs' I'r'rid foc"d or bods krcwri tc '' luse gas :c'Ca)
       3. Results
                     No polyps or hiopsies were taken drrriro vnrl evamiplfin4
                     polyps or biopsies of other lesions were iaken during your examination, you will be notified of biopsy results by phone
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       <rmair.                                                          fr     tri7 ",4"    .!. --{
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                     Esophageal srricrure was          dilated         &AU-ap//-dt'           v
       4.       Medications                                                                                                                                               i\
       -T-X                        rrmal medications, unless otherwise_instructed'
                     Resume your normal                        otherwise instructed.                                                                                      I     f


                     Follow any special medication instructions given below.
       -
       5. Follow these additional recommendations, including diet, medications, or follow-up appointments
       Recommendations:
            '    Anti-reflux measures: Raise the head of the bed 4 to 6 inches. Avoid smoking. Avoid excess coffee, tea or other caffeinated
                 beverages. Avoid alcohol, chocolate, and peppermint. Avoid garments that fit tightly through the abdomen' Avoid eating
                 before bed.
            '    Follow anti-reflux diet instructions: Patient advised to lose weight. Start low fat diet. Recommend to stop smoking, take
                 alcohol in moderation. Avoid citrus, fruits, juices, chocolate, mints, and carbonated beverages. Elevate head of bed 4 to 6
                 inches. Do not lie down for 3 hours after meal.
            '    Omeprazole 20 mg p.o. Daily.
            '    Follow-up on the results of the biopsy specimens in I week.
            '
         We will consider fluticasone therapy depending upon biopsy results.
            '
         Clear liquid diet today
            '
         Advance to full liquid and soft diet as tolerated.
            '
         Repeat EC}D in 3-4 rveeks.
                                                                                                      t')
            '
         Follow-up appointment with referring physician.
                                                                                                      uM              /.
            '
         Thank you for referring your patient.
       Notiff us immediately at (1 800 899 8448) if you notice:
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       1. Rectal bleeding of more than 3-4 tablespoons within 14 days.
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       2. Shaking, chills and/or temperature over 100 degrees F within 3 - 5 days.                             ) '+<                     i             i     i

       3. Severe abdominal pain within 3 - 5 days. (Some discomfort, "gas", or bloating is normal.)                                                              \    r,r
                                                                                                                                                -i
       4. Vomiting of blood within 3 - 5 days.                                                              /' l*1         Ll'*!,
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       5. The onset ofblack, tarry stools.                                                                  42                      "
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       6. Increased abdominal bloating.
       7. The onset of new symptoms (swallowing difficulties, change in bowel habits, etc.)
       Please follow these instructions carefirlly. Call Dr. AHMAD if you have any questions at (1 800 899 8448 ).



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                                                    IU Health Arnett
                                           ENDOSCOPY DISCHARGE INSTRUCTIONS
Patient Name:                          ODELL L CALVIN      Attending Physician:                     NAVEED AHMAD,
Patient ID:                            MRN-74806462                  Date of Birth:
Procedure Date:                        03/0612015                    Procedure Performed:           EsophagogastroduodenoscoPY

l.   General Information
'     You received sedation: You must have someone drive you home'
.     Do not drive a motor vehicle, operate machinery or power tools for 24 hours.
.     Do not sign any legal documents or make any personal or business decisions for 24 hours.
'     You may return to work tomorrow unless otherwise directed.
2. Diet
                                          t
            Nothing to eat or drink for hour. Test swallowing with sips of water'
          /Resume normal diet, unless otherwise directed.
-Z     potto* any prescribed diet instructions given.
I)o not drink any alcoholic beverages, including beer, for 24 hours. Mylanta Gas, Phazyme, GasX, or cther anti-gas medications
may be taken to relieve bloatirrg or gas. A.roid food or foods known to cause gas today
3. Resxlts
      No polypsgr5iopsies were taken during your examination.
     {volypr             other lesions were taken during your examination, you will be notified of biopsy results by phone
or malk
             ",Qg:l$f
      {     n   oplrageal stricture was dilated.
4. Medications
            Resume your normal medications, unless otherwise instructed.
      y'
       Follow any special medication instructions given below.
5. Follow these additional recommendations, including diet, medications, or follow-up appointments.
Recommendations:
                                                          I week,
 ' Follow-up on the results of the biopsy specimens intlzhr-
 ' Follow PPI therapy. Oylv Prqzoli )annon                        pnov- )-o Ailt't ww'c'-t
 . Patient advised to avoid taking ASA, aleve, mdffin & other, non-steriodal, anti-inflammatory     NSAID) medications.
 ' Liquid diet today, advance to soft tomorrow. d"r* Slvt6 t ncPl.-dd.
 ' Will consider allergy testing if positive for Eosinophilic esophagitis.
 ' Follow-up appointment with referring physician.
 ' Thank you for referring your patient.
Notify us immediately at (1 800 899 8448)           if you notice:

2. Shaking, chills and/or temperature over 100 degtees F within 3 - 5 days.
3. Severe rrbdorninal pain within 3 - 5 davsi. (Some discomfort. "'Ias", or bloatinr: is normal.)
.1. Vorniting of blood within 3 - 5 days.
 5. The onset of black, tarry stools.
 6. Increased abdominal bloating.
 7. The onset of new symptoms (swallowing difficulties, change in bowel habits, etc')
Please follow these instructions carefully. Call       Dr. AHMAD if you have any questions at (1 800 899 8448 ).
I    have received and understand these       instructions'
                                                                                                                  Date: 0310612015
Patient Signature:


 Escort Signature:


Nurse Signature:
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        )l
  e     Bleeding (indicated by bright red vomit or black, tarry stool)

  These symptoms occur more often with reflux esophagitis:
  .     Coughing
  o    Hoarseness

  Diagnosis of Esophagitis

  Your healthcare provider will ask about your health history and symptoms. you'll
                                                                                      also be examined.
  Sometimes certain tests are needed. These may include:
  t Upper endoscopy. A thin, flexible tube with a tiny light and camera is used. It is inserted through the
     mouth down into the esophagus. This allows the doctor to look for damage. A
                                                                                     biopsy may also be
     done' This is when a small sample of tissue is removed. The sample is se.-nt to
                                                                                     a lab for testing.
  ' Upper GI x-ray with barium. An x-ray is done after the patient drinks a substance called barium.
    This substance makes problems in the esophagus easier to see on an x-ray.

 Trearrnent of Osophagitis
 o Medications can help treat either type. For infectious esophagitis, medications can help clear the
    infection. For reflux esophagitis, medications are prescribed based on symptoms.
                                                                                        For instance, minor
    symptoms can be treated with antacids. These are taken after meals and
                                                                               attedtime. For more severe
    symptoms, certain medications can help reduce the amount of acid the stomach
                                                                                      makes. Other
    medications can help food move through the stomach more quickly.
 o Lifestyle changes can help reduce irritation and ease symptoms:
    Avoid spicy foods (pepper, chili powder, curry). Also avoid hard foods (nuts, crackers, raw
        vegetables) and acidic foods and drinks (tomatoes, citrus fruits and juices).
                                                                                      Other problem foods
        include chocolate, peppermint, nutmeg, and foods high in fat.
    Until you can swallow without pain, follow a combined liquid and soft diet. Try foods such as cooked
         cereals, mashed potatoes, and soups.
      Take small bites and chew your food thoroughly.
      Avoid large meals. And don,t eat right before lying down.
      Get to or maintain a healthy weight.
      Avoid alcohol, caffeine, and smoking.
      Practice good oral hygiene.
      Raise your upper body by 4 to 6 inches when lying in bed. This can
                                                                         be done using a foam wedge. Or
          put blocks under the legs at the head ofyour bed.
o     SurgerY mav be needed for severe reflux esophagitis. Your doctor can tell yolr
                                                                                     more.

   Why Treatment ls lmportant
   Without treatment, esophagitis can worsen. This is especially true with severe reflux
   esophagitis, For instance, continued symptoms can cause scarring of the
                                                                                esophagus. Over
   time' this can create a stricture, or narrowing. This can result in trouble purrirg food
                                                                                             down to
   the stomach. Continued symptoms can also cause changes in the lining of
   These changes can put you at a slightly higher risk ofcancer ofthe
                                                                                         I e'-'
                                                                                 tfrr esophagus.
                                                                          esJphagus.


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                                                                                               This information is not intended as   a   substitute for
professional medical care. AIways folrow youi healthcare professrona|s
                                                                       instructions.

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                        ,
                                 -EeoPhagua
                        I-*---
                                    Stomach




    With esophagitis, the lining of the
            esophagus is inflamed.


    Reflux esophagitis. This is the more common type. lt's also called GERD (gastroesophageal reflux
    disease). It occurs when acid from the stomach flows back into the esophagus. This happens
    repeatedly and leads to irritation. Causes include:
    Being overweight
    Pregnancy
    Frequent vomiting
    Certain medications (such as aspirin and other anti-inflammatories)
    Hiatal hernia, which is when the upper part of the stomach pushes upward through the diaphragm (the
         muscle between the chest and the abdomen)
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    likely. These include a weakened irnmune system and poor nutritiort. Antibiotic Llse ciln also be a
    factor. The infection is often due to the following:
    A type of fungus (typically candida)
    A virus, such as herpes simplex virus I or cl,tomegalovirus (CMV)

Symptoms of Esophagitis

The following symptoms can occur for both types of esophagitis:
. Pain when swallowing, or trouble sr,vallowing
o Heartburn (pain behind the breastbone)
o Nausea
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                             Cook County Health and Hospitals System
                            Ambulatory and Community Health Network
                                       Patient Discharge !nstruction

Visit Summary For ODELL CALVIN
We would like io thank you for allowing us to assist you with your healthcare needs. Our entire
staff strives to provide an excellent experience for our patients and their families. The following
includes information regarding your visit'

     Age: 36 yeai's Sex: Male DOB: 1110811979 MRN: 5059039
     Address: 1224 E 69TH ST CHICAGO, lL 60637
     Home: (773) 674-5631 Work: -- Mobile: -
     Primary Gare Provider: --
     Race: African American/Black Ethnicity: Non-Hispanic/Latino/Span!sh Ltrigii't
     Language: i English
     Health Plan: l"Cermak

Visit Date: LzloTlzols 1o:57:03
Visit Location: Fantus (FH)
Visit Physician/Provider: YU MD, BYUNG-Ho
Primary Care Provider Phone:
Discharge DiagnoSisl         Asthma; Eosinophilic esophagitis
Updatgd-s!
     t2/O711510:57 am by PALMISANO MD,         ERICA L
 *
 Special lnstructions: For asthma:

 Take two puffs of QVAR and inhale them, twice per day.
 Use the albuterol oniy as a rescue inhaler

 For esoPhagitis:

 FoR cERt\      lrLag: PLEASE oRDER MtLK A.LTERGv tGF
i li:e ti. r*_. .;t*is of QVAR and swallow them, twice per day.
                 'tfi
Follow-up v,           Gl, we have referred you to them. lf they do not contact you in two weeks, call the
number of t. '        r'eferral form to inquire on your appointment
AVOID ALL DAIl1Y PRODUCTS
Use epipen in the eve;tt of anaphylaxis (modified)
Patient Sumntary Given
Patient Summary Distribution: Given to patient/caregiver



Follow-up and APPointments:




 Name: CALVIN, ODELL                                             1ol 4                                 1210712015 1057.04
 MRN: 005059039c
